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AO 91 (Rev. 11/11) Criminal Complaint

 

UNITED STATES DISTRICT COURT

for the

Middle District of Florida

 

 

United States of America )
v. )
John Wesley Mobley, Jr. ) Case No.
) 6:20-mj- /4/2Z
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of ____ May 31, 2020 in the county of _ Orange in the
Middle District of Florida , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 912 False impersonation of an officer of the United States.

This criminal complaint is based on these facts:

See attached affidavit.

Mf Continued on the attached sheet.

—_—_—_—_

 

Complainant's signature

Ebenezer K. Paikai, DUSM, U.S. Marshal Service

 

Printed name and title
Sworn to before me and signed in my presence,

Date: @- §-2020 ( E ! 54 ae

Judge's signature

City and state: Orlando, FL Thomas B. Smith, U.S. Magistrate Judge

 

Printed name and title
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STATE OF FLORIDA CASE NO. 6:20-mj- //Z2
COUNTY OF ORANGE

AFFIDAVIT IN SUPPORT OF THE
ISSUANCE OF A CRIMINAL COMPLAINT

I, Ebenezer K. Paikai IV, Deputy United States Marshal with the United States
Marshals Service (USMS), being duly sworn, depose and state as follows:

l. I am a Senior Inspector, Deputy U.S. Marshal with the USMS and have
been so employed since 2010. I am presently assigned to the Orlando Field Office Sex
Offender Unit in the Middle District of Florida. I am specifically assigned to conduct
investigations to locate and apprehend federal and state fugitives. As such, | am vested
with the authority to investigate violations of Federal laws, including but not limited to:
18 U.S.C. § 912.

2. The information contained in this Affidavit is based upon my personal
investigation, my review of the reports and files in this case, and conversations with
other law enforcement personnel. The following is not an exhaustive enumeration of
the facts that I have learned during the course of the investigation. Instead, they are the
facts which I believe support a finding of probable cause to issue a Federal Criminal
Complaint. This Affidavit is made in support of the issuance of a Criminal Complaint
charging John Wesley MOBLEY Jr with a violation of 18 U.S.C. § 912 (false

impersonation of an officer of the United States).
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3. On May 31, 2020, a member of the Orlando Police Department (““OPD”)
acted in an undercover capacity (“UC”) during a protest occurring in Orlando, Florida,
in the Middle District of Florida. At approximately 7:25 pm, in the area of Long Street
and Westmoreland Drive in Orlando, the UC observed an individual, later identified as
MOBLEY based on his Florida driver’s license, posing as a member of law enforcement.

4. Specifically, the UC observed MOBLEY driving a gold Ford vehicle,
which was registered to MOBLEY. MOBLEY was forced to stop his vehicle because
of passing protestors. MOBLEY got out of the vehicle, walked towards the protestors,
pulled out what appeared to be a law enforcement badge, waived it at the protestors,
and stated something to the effect of “Do you want to get arrested? Do you want to go
to jail?” In response, a protestor responded, “He’s a Marshal!” The protestors then began
warning other protestors that the driver, MOBLEY, was with law enforcement.
MOBLEY got back into his vehicle and drove away north on Westmoreland Dr.

5. At approximately 8:44 pm, other members of OPD observing the protest
received information over the radio that the same individual observed by the UC,
matching MOBLEY’s description, including the clothes that MOBLEY was later found
to be wearing, was in a crowd of protestors with a firearm in his waistband causing a
disturbance.

6. As a result of the disturbance, two OPD officers approached MOBLEY in
the crowd. One of the OPD officers secured MOBLEY by the arm and removed him
from the group of protestors for the safety of the public. MOBLEY spontaneously stated,

"It’s just a BB gun" and “I just wanted to look like you guys.” Officers informed
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MOBLEY that it was not a good idea to appear to be law enforcement. In response,
MOBLEY stated, “I just wanted to help.” During the encounter with MOBLEY, OPD
officers observed a large bulge in the shape of a pistol holster on MOBLEY’s right hip.
The OPD officers secured what appeared to be a Glock pistol. Upon further later
examination, it was later determined that MOBLEY possessed a BB gun replica of a
Glock pistol, which is not a firearm.

7. As the OPD officers secured what they believed to be a real firearm, one
of them noticed a silver set of metal handcuffs hanging from MOBLEY’s belt. The OPD
officers then placed MOBLEY in the back of an OPD patrol vehicle.

8. MOBLEY then asked one of the OPD officers to adjust his handcuffs
because they were too tight. After they were adjusted, the OPD officer observed
MOBLEY reach toward the front of his waistband, remove an item, and sit down with
the object in his hand. The OPD officer removed MOBLEY from the vehicle, and
_ MOBLEY dropped a silver badge with the words “United States Marshal” written on
the front. Based on my experience and training, although the badge is not genuine, it is
similar to and appears to be a real USMS badge. A picture of the BB gun Glock replica,

handcuffs, and fake “United States Marshal” badge are provided below:
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9. A criminal history check revealed that MOBLEY has the following
convictions:
e Grand Theft, on or about June 21, 2002;
e Burglary, on or about February 18, 2005;
e Fraud/Impersonating a law enforcement officer, on or about March 12, 2009;

e Burglary with assault or battery, on or about December 31, 2009;
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e Grand theft, on or about ita 28, 2010;
e Resist Officer, on or about August 7, 2012;
e Fraud/Impersonating a law enforcement officer, on or about August 6, 2016; and
e Possession of a weapon or ammo, on or about August 6, 2016.
10. | Based upon the foregoing, I have probable cause to believe that MOBLEY
violated federal law by impersonating a federal law enforcement officer. For the reasons
discussed in this Affidavit, I respectfully request the Court issue a Criminal Complaint

and Arrest Warrant charging John Wesley MOBLEY JR with violating 18 U.S.C. § 912.

FURTHER AFFIANT SAYETH NAUGHT.

CK

Ebenezer K. Paikai IV, DUSM
United States Marshals Service

 

Subscribed and sworn before me this day
of June_: 3 , 2020, in Orlando, Florida.

TRO >

HON. THOMAS B. SMITH
United States Magistrate Judge
